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                                                                                  United States Bankruptcy Court
                                                                                      Southern District of Texas

                                                                                         ENTERED
                   IN THE UNITED STATES BANKRUPTCY COURT                                 May 20, 2022
                     FOR THE SOUTHERN DISTRICT OF TEXAS                               Nathan Ochsner, Clerk
                              HOUSTON DIVISION

 IN RE:                                            §
                                                   §        CASE NO.: 21-60066
 GREATER HOUSTON                                   §
 TRANSPORATION COMPANY                             §        CHAPTER 11
                                                   §
 Debtor                                            §

                    ORDER GRANTING UNOPPOSED MOTION OF
                            BANKRUPTCY CREDITOR
                    ERICA BARNES TO LIFT BANKRUPTCY STAY


       The Motion of bankruptcy creditor Erica Barnes to Lift Stay to allow her to proceed to with

litigation in state court proceeding Cause No. 2021-26176, Erica Barnes v. Tajudeen Alade Oshodi

and Greater Houston Transportation Company a/k/a Yellow Cab, In the 129th Judicial District

Court of Harris County, Texas, in order to purse claims for personal injury is hereby GRANTED.

       Upon review, the Motion is GRANTED and the automatic stay is lifted to allow

Movant to proceed with her case against Debtor Greater Houston Transportation Company.


       SIGNED this               day of                     , 2022.
          August
          May      02, 2019
              20, 2022




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